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                                                                   #331
*A0 245B      (Rev. 12103) Judgment in a Criminal Case
              Sheet I




                                                                                                                  CLERK. US. DISTRICT C      W ~
                                              SOUTHERN           District of
W E D STATES OF AMERICA                                                    JUDGMENT IN A CRIMINAL                    CAW
                                                                                                                       ~omce

JOHN L. TOLLIVER
                                                                           Case Number:                      04CR400 14-003-JPG

                                                                           USM Number:                       06270-025

                                                                           Daniel F. Gonnin
                                                                           Defendant's Attorney
THE DEFENDANT:
0 pleaded guilty to count(s)
-
0 pleaded nolo contendere to count(s)
-
   which was accepted by the court.
H was found guilty on count(s)
-                                       1 of the Superseding Indictment.
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                           Offense Ended           Q,@
21 U.S.C. 846                    Conspiracy to Possess With Intent to Distribute 50 Grams or                 03/04/2004        Is
                                 More of Cocaine Base




       The defendant is sentenced as provided in pages 2 through
the Sentencing Reform Act of 1984.
                                                                            k             of this judgment. The sentence is imposed pursuant to


- The defendant has been found not guilty on count(s)
0 Count(s)
-                                                 -
                                                  0 is           g are dismissed on the motion of the United States.
         It 1s ordered that thedcfendant must not~fythe IJn~tedStatcs anomey fbr this distr~ctwithm 30 da s of my change of name, rcs~dencc,
or mailing address until all lines. restltutlon, costs, and spcclal ass$ssmcntc imposed by th~spdgmenrare fuiy   Ifordered to pay rcstrhltlon,
the defendant must nonfy the court and ilnited States attomcy or rnatcr~alchanges in cconomlc clrcumswnces.

                                                                           June 23,2005
                                                                           Date of Imposition of Judgmolt




                                                                           J. Phil Gilbert. District Judge
                                                                           Name and Title of Judge
                  Case 4:04-cr-40014-JPG                    Document 137 Filed 06/28/05                  Page 2 of 6      Page ID
                                                                      #332
A 0 2458       (Rev. 12103) Judgment in Criminal Case
               Sheet 2 I m p r i s o n m e n t

                                                                                                        Judgment - Page
 DEFENDANT:                       JOHN L. TOLLNER
 CASE NUMBER:                     04CR400 14-003-JPG


                                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to he imprisoned for a
 total term of:     240 months on Count 1 of the Superseding Indictment.




    - The court makes the following recommendations to the Bureau of Prisons:




    x      The defendant is remanded to the custody of the United States Marshal

    - The defendant shall surrender to the United States Marshal for this district:
        -
        0        at                                     - a.m.     fi p.m.       on
           -     as notified by the United States Marshal.

    0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
    -
        -        before 2 p.m. on

        -
        0        as notified by the United States Marshal.

        -        as notified by the Probation or Pretrial Services Off~ce.


                                                                       RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                               to

a                                                         , with a certified copy of h s judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                              BY
                                                                                      DEPUTY UNITED STATES MARSHAL
                  Case 4:04-cr-40014-JPG                 Document 137 Filed 06/28/05                      Page 3 of 6           Page ID
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A 0 2458      (Rev 12103) Judment in a Cnrninal Case
              Sheet 3 - ~upe&ed Release
                                                                                                           Judgment-Page   3
 DEFENDANT:                   JOHN L. TOLLIVER
 CASE NUh4BER:                04CR40014-003-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :           10 years on Count 1s




      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pr~sons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
-        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
-        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
X        The defendant shall cooperate in the collection of DNA as directed by the probation officee (Check, if applicable.)
0
-        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
-        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aynentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
  3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or admmister any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)       the defendant shall not associate with any ersons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted pernnssion to do sogy the protation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
 13)       as directed by the robar~onul'li:er, th? deicndant s h d l not~fythtrd panies of rlskh t h ~ nuy
                                                                                                        t be ocsasioncd by the defcndant's crim~nal
           record or personay history or charactmatics and shall pernut thc probat~orofticcr to makc such notifications and to confirm the
           defendant a conipl~mcewith wch notilicauon requirement
            Case 4:04-cr-40014-JPG                    Document 137 Filed 06/28/05         Page 4 of 6       Page ID
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A 0 245B   (Rev. 12103) Judgment in a Criminal Case
           Sheet 3C - Sunervired Release




CASE NUMBER:              04CR40014-003-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
       The defendant shall pa any financial penalty that is imposed b this jud ent and that remains unpaid at the
                                  f'                                   7
commencement of the term o supervised release. The defendant shal pay the E e in installments of $10.00 or ten percent of
his net monthly income, whichever is greater.
  The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
with access to any r e y t e d finqcia1,information. The defendant is advised that the probation office may share financial
information with the manc~alLit~gationUnit.
  Thc dcfcndant shall partic1 dtr in a program or' mental health rrcatrncnt, as J~rectedby the probation officer, untd such tlme
                                 ?'
as the defendant 15 relsascd rom thc progrim by thc prohat~unofficer.
  The defendant shall appl all monies received from income tax refunds, lottery winnings, judgments, and/or any other
anticipated or unexpected enancial         psi,,
                                          to the outstanding courtadered financial obligation The defendant shall
immediately notify the probation of lcer of the receipt of any indicated monies.
  The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
dependence or alcohol dependence, which includes urinalys~sor other drug detection measures and which may require
residence andlor partici ation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. d e defendant shall pay for the costs associated with substance abuse counselmg and/or testing based
on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total costs of
counselmg.
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                                                                     #335
A 0 2458   (Rev. 12/03) Judgment in a Criminal Case
           Sheet 5 -Criminal Monetary Penalties
                                                                                                         Judgment - Page 5
DEFENDANT:                         JOHN L. TOLLIVER
CASE NUMBER:                       04CR40014-003-JPG
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule ofpayments on Sheet 6.

                       Assessment                                            -
                                                                             Fine                              Restitution
TOTALS             $   100.00                                            $ 250.00                            $ -0-



- The determination of restitution is deferred until -. An Amended Judgment in a Criminal Case ( A 0 245C) will be entered
     after such determination.

- The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant nukes a parual payment, c a ~ hp a r shall rcscy,e, an approxmutely ro omoned pqment, unless specified otherwise in
                                                                                                   P.P
     the priorq order or pcrcenrage pqmcnt :olumn An\.Iloar\rr. pursuant to 18 1 b. . Q 3664(1).all nonfedcral vierims must be paid
     before the Cnucd Stares is pa~d.

Name of Pavee                                Total Loss*                          Restitution Ordered                Prioritv or Percentage




TOTALS                               $                                           $


-     Restitution amount ordered pursuant to plea agreement $

-     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(0. All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

X     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      X the interest requirement is waived for the
      -                                                          x    fine    1restitution.
      - the interest requirement for the              -   fine       - restitution is modified as follows:

*Findings for the total amount of losses are requiredunder Chapters 109A, 110,l lOA, and 113A of Title 18 for offenses committed onor after
September 13, 1994, hut before April 23, 1996.
               Case 4:04-cr-40014-JPG                  Document 137 Filed 06/28/05                     Page 6 of 6          Page ID
A 0 2458   (Rev. 12103) Judgment in a Criminal Case              #336
           Sheet 6 S c h e d u l e of Payments
                                                                                                        Judgment - Page   _k
DEFENDANT:                  JOHN L. TOLLNER
 CASE NUMBER:               04CR40014-003-PG

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     x    Lump sumpayment of $                             due immediately, balance due




B     g    Payment to begin immediately (may be combined with              C,       -
                                                                                    0 D, or     g F below); or
C     g    Payment inequal                    (e.g., weekly, monthly, quarterly) installments of 5                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     1 Payment in equal                       (e.g., weekly, monthly, quarterly) installments of 5                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

           Payments are due immediately, through the Clerk of the Court, but may be paid from prison earnings in compliance with the
           Inmate Financial Responsibility Program. Any Financial penalties that remain unpaid at the commencement of the term of
           supervised release shall be paid at the rate of $            per month,        % of defendants monthly gross earnings,
           whichever is greater.

           Special instructions regarding the payment of criminal monetary penalties:
           While on supervised release the defendant shall make monthly payments in the amount of $10.00 or ten percent of his net monthly
           income, wh~cheveris greater.




Unless the court has express1 ordered otherwise, if this judgment imposes imprisonment,fi;ment of criminal monetaq penalties is due d m
                              7
nnpnsnnment. All crmuna moneta penalt~es,except those payments made throug t e Federal Bureau of Pr~sons'Inmate ~ i n a n c d
Responsibility Program, are made to g e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




-
0     Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




-
0     The defendant shall pay the cost of prosecution.
0
-    The defendant shall pay the following court cost(s):
-
0    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall he applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost ofprosecution and court costs.
